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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                                   District
                                             __________     of Maryland
                                                         District of __________


                         United States                         )
                             Plaintiff                         )
                                v.                             )      Case No.     8:19-cr-00200-TDC
                      Eric Eoin Marques                        )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          the United States                                                                                                 .


Date:          10/09/2019                                                                /s/ Ralph Paradiso
                                                                                         Attorney’s signature


                                                                                   Ralph Paradiso (NY3002011)
                                                                                     Printed name and bar number
                                                                           Criminal Division | U.S. Department of Justice
                                                                             Child Exploitation and Obscenity Section
                                                                               1400 New York Avenue, Suite 6110
                                                                                     Washington D.C., 20530
                                                                                               Address

                                                                                     ralph.paradiso@usdoj.gov
                                                                                            E-mail address

                                                                                          (202) 307-2830
                                                                                          Telephone number

                                                                                          (202) 514-1793
                                                                                             FAX number
